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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DISTRICT

 MIYAH LACY, individually, and on behalf
 of all others similarly situated,

               Plaintiff,

        v.

 CITY OF CHICAGO, a municipal
 corporation, and URT UNITED ROAD
 TOWING, INC. d/b/a United Road Towing,
 Inc., a Delaware corporation,

               Defendants.                       JURY TRIAL DEMANDED


                               CLASS ACTION COMPLAINT

       Plaintiff Miyah Lacy (“Plaintiff”), individually, and on behalf of all others similarly

situated, by and through counsel, brings this action against the City of Chicago (“City”) and URT

United Road Towing, Inc. (“URT”) (collectively, “Defendants”). The following allegations are

based upon personal knowledge as to Plaintiff’s own facts, upon investigation by Plaintiff’s

counsel, and upon information and belief where facts are solely in possession of Defendants.

                                  NATURE OF THE CASE

       1.     Plaintiff brings this lawsuit as a class action on behalf of herself and a class of

individuals whose vehicles were impounded by the City and/or its designee(s), and were sold,

scrapped, or otherwise disposed of without sufficient notice, and without providing any

compensation to the owner of the vehicle.
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        2.     Defendants tow and impound tens of thousands of vehicles each year. 1 The vast

majority are impounded because either the vehicle is parked in a hazardous location or in violation

of the winter street parking ban, or because the owner of the vehicle has multiple unpaid traffic

citations.2

        3.     When the City immobilizes, tows, and/or impounds a vehicle, the owner of the

vehicle is assessed various fees—such as a boot removal fee, towing fee, and per-day storage fees.

In order to reclaim the vehicle, the owner must pay all outstanding traffic citations, fees associated

with impounding the vehicle, and any late penalties and collection fees.

        4.     If the vehicle owner is not able to pay all amounts allegedly owed within 18 days

after the City issues a notice of towing and impoundment, the City will sell the vehicle, to URT,

for only a fraction of the value of the vehicle. The City does not consider the age, condition, or

value of the impounded vehicle, but, instead, sells impounded vehicles to URT for the scrap value

of the impounded vehicle.3

        5.     The City fails to provide adequate notice to vehicle owners that the vehicle will be

sold, scrapped or otherwise destroyed.

        6.     Incredibly, the City also fails to apply the proceeds from the sale of the vehicles to

the amounts the vehicle owner allegedly owes in outstanding traffic tickets or for the fees

associated with impounding the vehicle. Instead, the City retains the proceeds of the sale of

impounded vehicles for itself, and still requires the owners of scrapped vehicles to pay the full

amount of the ticket, fees, late-payment penalties, and costs for towing and impoundment, and



1
   See Elliott Ramos, Chicago’s Towing Program is Broken, WBEZ (Apr. 1, 2019), available at:
http://interactive.wbez.org/brokentowing/ (“Chicago impounded 93,857 vehicles [in 2017]. It sold just
under 24,000 of them—or an average of 66 cars a day—each for less than $200.”).
2
  See id.
3
  See id.
                                                  2
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potentially adding applicable collection costs and attorneys’ fees, if the amount is sent to

collections.

        7.      After URT “purchases” impounded vehicles from the City, URT either scraps the

vehicles or resells them for far more than it paid the City for the “scrap” value of the vehicles.

        8.      Accordingly, Plaintiff brings this action, individually, and on behalf of all others

similarly situated, for the City’s deprivation of Plaintiff’s and Class members’ constitutional

privilege against taking private property without just compensation, the City’s violation of

Plaintiff’s and Class members’ right to due process, the City’s violation of the Illinois Vehicle

Code, the City’s violation of the Municipal Code of Chicago, and unjust enrichment.

                                           JURISDICTION

        9.      The Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. § 1331

because Plaintiff brings claims under the United States Constitution and 42 U.S.C. § 1983. This

Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

        10.     The Court has personal jurisdiction over the City because it is a municipal

corporation located in Illinois and this District, maintains its offices in this District and does

substantial business in this District.

        11.     The Court has personal jurisdiction over URT because it is registered to conduct

business in Illinois, has systematic and continuous contacts with the State, conducts substantial

business in this State and within this District, and receives substantial revenues from the acts

alleged herein, so as to subject itself to personal jurisdiction in this District.

        12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or occurrences giving rise to the claims alleged herein occurred in this District.




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                                               PARTIES

        13.       Plaintiff Miyah Lacy is a resident of Cook County, Illinois, living in Dolton,

Illinois.

        14.       Defendant City of Chicago is a municipal corporation in the State of Illinois.

        15.       Defendant URT United Road Towing, Inc., d/b/a United Road Towing, Inc., is a

Delaware corporation with its principal place of business located at 18861 90th Avenue, Mokena,

Illinois 60448.

                                    GENERAL ALLEGATIONS

The Illinois Vehicle Code

        16.       Section 4-208 of the Illinois Vehicle Code sets forth the minimum requirements

that the City must comply with prior to selling, scrapping, or otherwise disposing of an impounded

vehicle.

        17.       The Illinois Legislature amended Section 4-208 in 2005 to create a process that

requires the City to provide the registered owner with multiple notices prior to disposing of an

impounded vehicle.

        18.       First, when a vehicle is towed and impounded the registered owner of the vehicle

must be sent notice of the towing and impoundment of the vehicle on or before the earlier of ten

business days after the vehicle was impounded, or two days after the identity of the registered

owner is determined. See id. (incorporating by reference 625 ILCS 5/4-205).4

        19.       Second, a second additional notice must be sent “by first class mail to the registered

owner [of the vehicle].” See 625 ILCS 5/4-208(a).




4
 The Illinois Vehicle Code requires that notice be provided to “the registered owner, lienholder or other
person legally entitled person” (herein, the “registered owner” or “owner”). 625 ILCS 5/4-208.
                                                    4
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        20.     Third, if the vehicle remains unclaimed for 18 days after the first notice of towing

and impoundment was sent to the registered owner, and the registered owner was sent the required

“additional notice,” the City may then dispose of the impounded vehicle. Id.

        21.     The Illinois Legislature amended Section 4-208 to create the multi-step notification

process for the purpose of ensuring the owners of impounded vehicles are provided with sufficient

notice prior to the City disposing of their vehicles: “What [Section 4-208] first does is gives a

second notice to these cars that have been towed . . . [and] when [the City] sold these vehicles or

demolished them or whatever, the proceeds would be entitled back to the [owners].” Ill. House

Tr., 2005 Reg. Sess. No. 60 (comments from Representative Robert Rita); see also Ill. House Tr.

2005 Reg. Sess. No. 53 (comments from Representative Black) (“they have to give you due

process. They can’t just take your property. . . . [Vehicle owners] have to be given notice [and] a

chance to redeem” their property.”).

The Municipal Code of Chicago

        22.     The Municipal Code of Chicago (“MCC”) provides that, when the registered owner

of a vehicle has accumulated three of more unpaid traffic citations, or two or more unpaid traffic

citations that are more than a year old, the City may “immobilize” the vehicle. See MCC 9-100-

120(b). Prior to including a vehicle on the City’s “immobilization list,” the City must send notice

to the registered owner of the vehicle that the vehicle will be placed onto the City’s immobilization

list if the outstanding traffic tickets are not paid. See id.

        23.     Prior to 2019, when the City, or its agents or designees, immobilized a vehicle, the

owner of the vehicle had 24 hours from the placement of the boot to pay all outstanding amounts

owed for traffic tickets and the $100 immobilization fee. If the owner failed to pay those amounts,

the City will have the vehicle towed and impounded. See MCC 9-100-120(d), (g).



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       24.     In 2019, the City amended the Municipal Code to permit vehicle owners to enter

into a payment plan with the City to secure release of the immobilized vehicle. See MCC 9-100-

120(d)(1); City Counsel Journal of Proceedings, 9-18-19, p. 4521, § 3. To be eligible to enter into

a payment plan, the vehicle owner must make a down payment on the total debt. 5

       25.     Within ten days of towing and impounding a vehicle, the City must send notice by

certified mail to the registered owner of the vehicle that the vehicle was impounded. See MCC 9-

100-120(f); 9-92-070(a). The notice must state that the registered owner has 21 days to either

1) claim the vehicle, 2) request a post-immobilization and post-towing hearing, or 3) request a one-

time 15-day extension. MCC 9-100-120(f).

       26.     If the vehicle is not claimed or a hearing or extension is not requested within 21

days of the date of notice, the vehicle may be sold or “otherwise disposed of in the manner

proscribed by Section 4-208 of the Illinois Vehicle Code.” MCC 9-100-120(f). As such, the

additional notice requirement of Section 4-208 of the Illinois Vehicle Code is incorporated into

MCC 9-100-120(f).

       27.     The City acknowledges that it is bound by Section 4-208 of the Illinois Vehicle

Code. The City’s form Notice of Vehicle Impoundment letter—which Defendants fail to send to

the registered owner of the vehicle multiple times—provides that if an impounded vehicle remains

unclaimed, it “may result in the sale or other disposition of the vehicle and its contents, as provided

in Section 4-208 of the Illinois Vehicle Code.” (emphasis added).




5
  See Payment Plan Options for Parking, Red Light Camera and Automated Speed Camera Violations,
City of Chicago, https://www.chicago.gov/city/en/depts/fin/supp_info/revenue/parking_and_red-
lightticketpaymentplans.html (last visited Dec. 20, 2021).
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          28.     To the extent that MCC 9-100-120 does not require Defendants to provide the

registered owner of the vehicle with an “additional” notice that the vehicle may be disposed of,

MCC 9-100-120 conflicts with Section 4-208 of the Illinois Vehicle Code.

          29.     To secure release of an impounded vehicle, the owner of the vehicle must pay “the

full amount of applicable towing and storage fees . . . plus all amounts due for outstanding [traffic

citations], including all related collections costs and attorney’s fees . . . .” MCC 9-92-080(a).

          30.     The City assesses a $150 towing fee ($250 for vehicles over 8,000 pounds) for

towing the vehicle. Id. at 9-92-080(b).

          31.     For a passenger vehicle, the owner is assessed a storage fee of $20 for the first five

days and $35 for each day thereafter (or $60 and $100 per day, respectively, for vehicles weighing

over 8,000 pounds). Id.

          32.     If the vehicle owner seeks to secure release of an impounded vehicle by entering

into a payment plan with the City, the owner must first pay all applicable immobilization, towing,

and storage fees, plus a down payment on the outstanding traffic tickets. See MCC 9-100-160.6

          33.     Like the Illinois Vehicle Code, the City’s municipal code provides that if the

registered owner of an impounded vehicle does not claim the vehicle within 18 days from the

mailing of the notice of impoundment, and “if, during that 18-day period, the [City] has sent an

additional notice by first class mail to the registered owner,” the City may dispose of the vehicle.

MCC 9-92-100(a). The City may dispose of unclaimed vehicles by selling the vehicle to “a person

licensed as an automotive parts recycler, rebuilder or scrap processor.” MCC 9-92-100(b).

          34.     If the value of the unclaimed vehicle “substantially exceeds its scrap value,” the

City may sell the vehicle “at a public auction to a person licensed as an automotive parts recycler,



6
    See also Payment Plan Options, supra note 5.
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rebuilder or scrap processor.” Id. at 9-92-100(c). At least 10 days prior to the auction of the

unclaimed vehicle, the City must send notice to the registered owner of the vehicle of the time and

place of the auction, and explain the steps the owner may take to reclaim the vehicle. Id.

        35.     Alternatively, the City may dispose of an impounded vehicle by adding the vehicle

to the City’s fleet of vehicles. MCC 9-92-100(d). Prior to adding the vehicle to the City’s fleet, the

City must send notice to the registered owner of the vehicle. Id.

        36.     Many Chicagoans are driven into bankruptcy by the rapid escalation of fines and

fees associated with parking tickets, towing fees and impoundment costs. 7

        37.     In the past, a registered owner in such dire financial straits could sometimes get his

or her vehicle back by filing for bankruptcy. Debt collection is automatically stayed upon such

filing, and debtors were often able to get their vehicles out of impoundment before the City

disposed of them.

        38.     However, in 2017, the City amended the MCC to provide that “Any vehicle

immobilized by the City or its designee shall be subject to a possessory lien in favor of the City in

the amount required to obtain release of the vehicle.” MCC 9-100-120(j). The City added the

provision to prevent vehicle owners from obtaining release of their impounded vehicles if they

filed for Chapter 13 bankruptcy, making clear that the City’s purpose in towing, impounding, and

scrapping vehicles in connection with parking violations is to collect debt by preventing bankrupt

citizens from recovering their vehicles.




7
 See Melissa Sanchez and Sandhya Kambhampati, How Chicago Ticket Debt Sends Black Motorists into
Bankruptcy, ProPublica Illinois (Feb. 27, 2018), available at: https://features.propublica.org/driven-into-
debt/chicago-ticket-debt-bankruptcy/.
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The City’s Practice of Selling Unclaimed Vehicles for Scrap to URT

       39.     In 2017, the City impounded nearly 100,000 vehicles and sold approximately

24,000 of those vehicles for scrap.8

       40.     The City contracts with URT for the management of towing operations in the City. 9

URT acts as the City’s designee relative to towing and impounding vehicles.

       41.     Eighteen days after the City impounds a vehicle, if the owner of the vehicle has not

secured release of the vehicle by paying all outstanding traffic citations and applicable

immobilization, towing, and storage fees; requested an extension; or, post-2019, entered into a

payment plan, the City will dispose of the impounded vehicle.

       42.     The City has a policy and practice of disregarding requests for an extension of the

deadline before the City disposes of impounded vehicles. It is the City’s stated policy and practice

that the Department of Streets and Sanitation has discretion whether to grant a request for an

extension, and to determine the length of the extension. The City’s policy and practice is contrary

to the express provisions of MCC 9-100-120(f), which requires the City to honor requests for a

15-day extension. See MCC 9-100-120(f) (“The department of streets and sanitation shall honor

such a request and shall not sell or otherwise dispose of a vehicle during the 15-day extension

period.”) (emphasis added).

       43.      Frequently, the City disposes of the unclaimed vehicles by selling them to URT

for the scrap value of the vehicle. For example, in 2017, approximately 75% of the 32,155

unclaimed vehicles impounded by the City were sold to URT. 10




8
  See Chicago’s Towing Program is Broken, supra note 1.
9
  See id.
10
   See id.
                                                 9
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        44.     The City sells the unclaimed vehicles to URT for a fraction of the value of the

vehicle, usually for $200 or less, regardless of the age, model, condition or value of the vehicle. 11

        45.     Defendants often fail to determine if the value of unclaimed vehicles substantially

exceeds the scrap value. Instead, the City sells unclaimed vehicles to URT for the scrap value of

the vehicle in order for URT to purchase the vehicles for a fraction of the market value. 12

        46.     The City has a policy or practice of not sending a second notice to the registered

owners of impounded vehicles. The purpose of the policy or practice is to allow the City to sell

the unclaimed vehicles to URT, so that Defendants can profit from the sale of the unclaimed

vehicles at Plaintiff’s and Class members’ expense.

        47.     Incredibly, when the City sells a vehicle to URT for scrap, the City does not use

any of the proceeds from the sale of the vehicle to reduce the amounts owed by the vehicle owner. 13

Instead, the City retains for itself the entire proceeds of the sale of unclaimed vehicles to URT, and

demands that the owner of the vehicle pay the entire amount outstanding for traffic citations,

immobilization, towing, and storage fees, and any applicable collections costs and attorneys’ fees,

without providing the debtor credit for the sale of the unclaimed vehicle. See MCC 9-92-100(e)

(“Disposal of a vehicle pursuant to this section shall not relieve the violator of liability for all costs,

fines and penalties incurred in conjunction with such vehicle . . .”).

        48.     The City knows that the vehicles impounded for unpaid traffic citations have not

been abandoned by the owner, but refuses to provide the vehicle owners with just compensation


11
   See id. (noting that the City’s sales to URT in 2017 included “a 2016 Ford Mustang for $176.09, a 2014
Audi A3 for $147.15, and a 2011 Mercedes M-Class for $143.33”); John Pearley Huffman, An Inside Look
at Chicago’s Seedy Car-Impound Netherworld, Car and Driver (Aug. 25, 2019), available at:
https://www.caranddriver.com/features/a28776512/impounded-cars-chicago.
12
   See Chicago’s Towing Program is Broken, supra note 1 (noting that many of the vehicles sold by the
City to URT for scrap value are worth far more than the scrap value of the vehicle).
13
   See id. (“None of the proceeds go toward paying off the debt the vehicle’s owner accrued during ticketing,
booting and towing.”).
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for the value of their vehicle, or even reduce the amount of liability for the unpaid citations, or the

towing or storage fees associated with the impoundment of the vehicle. Indeed, if the City were to

consider the unclaimed vehicles as “abandoned,” it would be required to reduce the amount the

owner of vehicle owes to the City related to towing and storage. See MCC 9-92-100(e) (“with

respect to disposal of an abandoned vehicle, the amount of liability for towing and storage costs

shall be reduced by any amounts realized in the disposal of the vehicle in accordance with Article

II of Chapter 4 of the Illinois Vehicle Code.”).

       49.     The City profits handsomely from the disposal of unclaimed vehicles. In 2017, the

City received approximately $4.6 million from the sale of unclaimed vehicles to URT.

Additionally, the City benefits from disposing of unclaimed vehicles by adding the vehicles to the

City’s fleet by retaining and using the vehicle.

       50.     The City’s policy to violate both Section 4-208 and MCC 9-92-100, and the policy

of selling unclaimed vehicles to URT without reducing the amount that the vehicle owner

purportedly owes to the city or providing compensation for the actual value of the vehicle is

designed to generate revenue for the City.

       51.     URT also greatly benefits from the City’s sale of unclaimed vehicles. Through the

scheme of purchasing the unclaimed vehicles from the City for scrap value, URT obtains vehicles

for a fraction of the actual value of the vehicle. While vehicles sold to URT as scrap receive a

salvage or junking title, URT can resell the vehicles for significantly more than URT paid the City

for the vehicles.

       52.     URT acts under color of law with respect to the immobilization, towing,

impoundment and disposal of vehicles. URT acts on behalf of the City, and at the City’s behest,

and in furtherance of the policy and practice of both failing to send the additional notice required



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by Section 4-208 of the Illinois Vehicle Code and Chapter 9-92 of the MCC, and disposing of

impounded vehicles without providing just compensation to the owner of the vehicle.

                  FACTUAL ALLEGATIONS PERTAINING TO PLAINTIFF

       53.        Plaintiff Lacy was the registered owner of a 2003 Honda Odyssey. Plaintiff’s

vehicle was registered to her address in Dolton, Illinois.

       54.        Prior to December 2019, Plaintiff received through the mail several traffic citations

from the City. As of December 6, 2019, Plaintiff Lacy had three traffic citations from the City that

were unpaid.

       55.        On or about December 6, 2019, Plaintiff Lacy parked her vehicle on the street near

2553 S. California Avenue, Chicago, Illinois. While Plaintiff Lacy was working, the City

immobilized Plaintiff Lacy’s vehicle.

       56.        Plaintiff Lacy contacted the City and requested the City remove the immobilization

device from her vehicle. The City’s representative advised Plaintiff Lacy that she was required to

pay the entire amount of outstanding traffic citations and applicable fees—approximately

$1,200—to have the device removed. The City’s representative did not advise Plaintiff Lacy that

the failure to pay the amount owed would result in the City disposing of her vehicle. Plaintiff Lacy

was unable to pay the amounts the City demanded.

       57.        Several days later, on or about December 8, 2019, the City, through URT, towed

and impounded Plaintiff Lacy’s vehicle.

       58.        The City claims that, on or about December 12, 2019, it mailed to Plaintiff Lacy a

NOTICE OF VEHICLE IMPOUNDMENT.

       59.        Plaintiff Lacy did not receive any notice from the City concerning the impoundment

of her vehicle.



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       60.     Neither the City nor URT mailed Plaintiff Lacy any additional notice, as required

by 625 ILCS 5/4-208(a) and MCC 9-92-100(a).

       61.     Prior to December 31, 2019, Plaintiff Lacy went in person to the Chicago

Department of Revenue to discuss the impoundment of her vehicle. The City’s employee, agent

and/or representative advised Plaintiff Lacy that in order to secure release of her vehicle she had

to pay the entire amount owed to the City. The City’s employee, agent, and/or representative did

not advise Plaintiff Lacy that the failure to pay the entire amount of the claimed debt within 21

days of the impoundment of her vehicle would result in her vehicle being sold or otherwise

disposed of.

       62.     On or about December 31, 2019, Plaintiff Lacy again contacted the City, through

its agent or representative at the 744-PARK call center, and requested an extension, in order to

gather the money necessary to pay the amount that she purportedly owed the City to secure release

of her vehicle. Plaintiff requested the extension of the deadline under the belief that the failure to

pay the entire amount owed would result in the debt being sent to collections. Plaintiff was not

advised that the failure to pay the entire amount allegedly owed would result in the City selling or

otherwise disposing of her vehicle.

       63.     In response to Plaintiff’s request for an extension, the City’s internal documents

indicate that the City believed “It is at the discretion of the Department of Streets and Sanitation

whether or not to honor the request [for an extension] and, if so, for how long the extension is to

be granted.”

       64.     Plaintiff’s request for a 15-day extension was not honored. Prior to the expiration

of the mandatory 15-day extension, Plaintiff Lacy discovered through the City’s website that her

vehicle had been sold or otherwise disposed of.



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       65.     The City disposed of Plaintiff Lacy’s vehicle by selling it to URT for the scrap

value of the vehicle, and not the actual or market value of the vehicle.

       66.     The value of Plaintiff Lacy’s vehicle substantially exceeded the scrap value of the

vehicle.

       67.     The City disposed Plaintiff Lacy’s vehicle without providing her any compensation

for the taking of her vehicle. Even after unlawfully disposing of her vehicle, the City continued to

demand that Plaintiff Lacy pay the outstanding traffic citations, as well as the fees for the

immobilization, towing, and impoundment of her vehicle—totaling approximately $3,000.

       68.     Eventually, the City referred the claimed debt to collections.

                                    CLASS ALLEGATIONS

       69.      Plaintiff brings this action, individually, and on behalf of a nationwide class,

pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3), defined as follows:

               All persons who had a vehicle impounded and disposed of by the City
               pursuant to MCC 9-100-120 or MCC 9-92-010, et seq.

       70.     Pursuant to Federal Rule of Civil Procedure 23(c)(5), Plaintiff also seeks to

represent subclasses, defined as follows:

               The Notice Subclass

               All persons who had a vehicle impounded and disposed of by the City
               pursuant to MCC 9-100-120 or MCC 9-92-010, et seq., and for whom
               Defendants have no record of sending at least two notices prior to the
               disposal of the vehicle.

               The Extension Subclass

               All persons who had a vehicle impounded by the City and made a request
               to the City for an extension of time to resolve any associated debt claimed
               by the City, but did not receive an extension of at least 15 days.

       71.     The Class and Subclasses shall be collectively referred to herein as the “Class.”

Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates, agents, employees,

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officers and directors; (c) Plaintiff’s counsel and Defendants’ counsel; and (d) the judge assigned

to this matter, the judge’s staff, and any member of the judge’s immediate family. Plaintiff reserves

the right to modify, change, or expand the various class definitions set forth above based on

discovery and further investigation.

       72.     Numerosity: Upon information and belief, the Class is so numerous that joinder of

all members is impracticable. While the exact number and identity of individual members of the

Class is unknown at this time, such information being in the sole possession of Defendants and/or

third parties and obtainable by Plaintiff only through the discovery process, Plaintiff believes, and

on that basis alleges, that the Class consists of hundreds of thousands of people. The number of

Class members can be determined based on Defendants’ and other third party’s records.

       73.     Common questions of law and fact exist as to all members of each Class. These

questions predominate over questions affecting individual Class members. These common legal

and factual questions include, but are not limited to:

               a.      Whether the City has a policy or practice of taking impounded vehicles for
                       public use;

               b.      Whether Plaintiff and Class members received just compensation for the
                       taking of their property;

               c.      Whether the City has a policy or practice of not sending the registered
                       owners of vehicles a second notice that the vehicle was impounded and may
                       be disposed of;

               d.      Whether the failure to send the registered owners of impounded vehicles a
                       second notice that the vehicle was impounded and may be disposed of is
                       constitutionally inadequate;

               e.      Whether the City violated Section 4-208 of the Illinois Vehicle Code by
                       failing to send multiple notices to Plaintiff and Class members prior to
                       disposing of their property;

               f.      Whether the City violated MCC 9-92-100 by failing to send multiple notices
                       to Plaintiff and Class members prior to disposing of their property;


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                g.     Whether the City has a policy or practice that it has discretion regarding
                       whether to honor requests for an extension of the time period before the City
                       sells or otherwise disposes of impounded vehicles;

                h.     Whether the City’s policy or practice that it has discretion regarding
                       whether to honor requests for an extension of the time period before the City
                       sells or otherwise disposes of impounded vehicles violates MCC 9-100-
                       120(f); and

                i.     Whether Defendants were unjustly enriched by disposing of Plaintiff’s and
                       Class members’ property.

       74.      Typicality: Plaintiff has the same interest in this matter as all Class members, and

Plaintiff’s claims arise out of the same set of facts and conduct as the claims of all Class members.

Plaintiff’s and Class members’ claims all arise out the uniform conduct of failing to provide the

required notice to registered owners of impounded vehicles that the vehicle will be disposed of

and the disposal of impounded vehicles without providing the owners with just and adequate

compensation.

       75.      Adequacy: Plaintiff has no interest that conflicts with the interests of the Class, and

is committed to pursuing this action vigorously. Plaintiff has retained counsel competent and

experienced in complex consumer class action litigation. Accordingly, Plaintiff and her counsel

will fairly and adequately protect the interests of the Class.

       76.      Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiff and members of the Class. The injury suffered by

each individual Class member is relatively small compared to the burden and expense of individual

prosecution of the complex and extensive litigation necessitated by Defendants’ conduct. It would

be virtually impossible for individual Class members to effectively redress the wrongs done to

them. Even if Class members could afford individualized litigation, the court system could not.

Individualized litigation would increase delay and expense to all parties, and to the court system,

because of the complex legal and factual issues of this case. Individualized rulings and judgments

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could result in inconsistent relief for similarly-situated individuals. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court.

          77.   Defendants have acted or refused to act on grounds generally applicable to the

Class, thereby making appropriate final injunctive relief and corresponding declaratory relief with

respect to the Class as a whole.

                                 FIRST CAUSE OF ACTION
                                    Unconstitutional Taking
                                       (42 U.S.C. § 1983)
            (On behalf of the Class and Notice Subclass against the City of Chicago)

          78.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          79.   The Fifth Amendment of the United States Constitution provides that private

property shall not be taken for public use without just compensation. U.S. Const. Amend. V.

          80.   At all relevant times there was in full force and effect United States Code, Title 43,

Section 1983. Section 1983 provides that: “every person who, under color of [law] of any State . . .

subjects, or causes to be subjected, any [person] to the deprivation of any rights . . . secured by the

Constitution and laws, shall be liable to the party injured in an action at law . . . .” 42 U.S.C.

§ 1983.

          81.   Actions against municipalities seeking redress for violations of constitutional rights

may be brought under 42 U.S.C. § 1983. Monell v. Dept. of Social Servs. of the City of New York,

436 U.S. 658 (1978).

          82.   Plaintiff and members of the Class and Subclass are “persons,” as that term is

defined by 42 U.S.C. § 1983.




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       83.     At all relevant times, the City and its employees, agents, and/or designees acted

under the color of law.

       84.     The City has a policy or practice of disposing of impounded vehicles without

providing the registered owner of the vehicle just compensation. The City disposes of impounded

vehicles by either 1) selling the impounded vehicles for the scrap value of the vehicle, regardless

of the actual or just value of the vehicle; 2) auctioning the impounded vehicle at a public auction;

or 3) adding the impounded vehicle to the City’s fleet. Regardless of the method of disposing of

the unclaimed vehicle, the City does not provide any compensation to the owner of the vehicle for

disposal of the vehicle, and does not provide credit from the sale of the vehicle towards the owner’s

unpaid traffic citations or fees associated with impounding the vehicle. See MCC 9-92-100(e).

       85.     The City’s policy and practice of taking Plaintiff’s and Class members’ vehicles

without compensation is not a valid exercise of police power. The City fails to comply with both

Section 4-208 of the Illinois Vehicle Code, and Chapter 9-92 of the MCC.

       86.     The City uses the proceeds from the disposal of the impounded vehicles for public

use. The City retains the proceeds from the sale—whether to URT or at a public auction—for the

City’s use. When the City retains the impounded vehicle to add to the City’s fleet, the vehicle is

taken for public use as the vehicle is used by the City and City employees.

       87.     Pursuant to the aforementioned policies or practices, the City impounded and

disposed of Plaintiff’s and Class members’ vehicles without providing them just compensation.

       88.     The City’s conduct violates Plaintiff’s and Class members’ rights under the Fifth

Amendment to the United States Constitution.

       89.     As a direct and proximate result of the City’s conduct, Plaintiff and Class members

suffered damages in an amount to be determined at trial.



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                                SECOND CAUSE OF ACTION
                              Violation of Procedural Due Process
                                       (42 U.S.C. § 1983)
            (On behalf of the Class and Notice Subclass against the City of Chicago)

          90.    Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          91.    The Fifth Amendment of the United States Constitution provides that no person

shall be deprived of property without due process. U.S. Const. Amend. V.

          92.    “At the core of procedural due process jurisprudence is the right to advance notice

of significant deprivations of liberty or property and to a meaningful opportunity to be heard.”

Abbott v. Latshaw, 164 F.3d 141, 146 (3d Cir. 1998).

          93.    At all relevant times there was in full force and effect United States Code, Title 43,

Section 1983. Section 1983 provides that: “every person who, under color of [law] of any State . . .

subjects, or causes to be subjected, any [person] to the deprivation of any rights . . . secured by the

Constitution and laws, shall be liable to the party injured in an action at law . . . .” 42 U.S.C.

§ 1983.

          94.    Actions against municipalities seeking redress for violations of constitutional rights

may be brought under 42 U.S.C. § 1983. Monell v. Dept. of Social Servs. of the City of New York,

436 U.S. 658 (1978).

          95.    Plaintiff and members of the Class are “persons,” as that term is defined by 42

U.S.C. § 1983.

          96.    At all relevant times, the City and its employees, agents, or designees acted under

the color of law.




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          97.    The City has policy or practice of disregarding the notice requirements in both the

Illinois Vehicle Code and Municipal Code of Chicago regarding providing notice to the registered

owner of impounded vehicles that the vehicle will be disposed of.

          98.    The failure to provide notice to Plaintiff and Class members prior to the disposal of

their vehicles is constitutionally inadequate.

          99.    By failing to adequately notify Plaintiff and Class members that their property may

be disposed of, the City deprived Plaintiff and Class members of a meaningful opportunity to

prevent the disposal of their property.

          100.   The disposal of Plaintiff’s and Class members’ impounded vehicles without notice

violates Plaintiff’s and Class members’ right to procedural due process.

          101.   As a direct and proximate result of the City’s conduct, Plaintiff and Class members

suffered damages in an amount to be determined at trial.

                                 THIRD CAUSE OF ACTION
                              Violation of the Illinois Vehicle Code
            (On behalf of the Class and Notice Subclass against the City of Chicago)

          102.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          103.   Plaintiff and Class members are entitled to enforce 625 ILCS 5/4-208. Section 4-

208 of the Illinois Vehicle Code was intended to protect vehicle owners, lienholders and other

legally entitled persons who had a vehicle impounded from being deprived of their vehicles

without receiving multiple notices required by Section 4-208.

          104.   Plaintiff’s and Class members’ injuries are ones that Section 4-208 was designed

to prevent: requiring the City to send owners of impounded vehicles multiple notices prior to the

disposal of their vehicles.



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          105.   Implying a private right of action is consistent with the purpose of Section 4-208

as it permits persons whose vehicles were impounded by the City to ensure that the City complies

with the requirement to send multiple notices to the registered owner of the vehicle prior to the

City disposing of the vehicle and, thereby, depriving the owner of the vehicle. See e.g., Ill. House

Tr., 2005 Reg. Sess. No. 60 (comments from Representative Rita) (“what [Section 4-208] first

does is gives a second notice to these cars that have been towed and . . . when they sold these

vehicles or demolished them or whatever the proceeds would be entitled back to the [owners of

the vehicles]”); Ill. House Tr. 2005 Reg. Sess. No. 53 (comments from Representative Black)

(“they have to give you due process. They can’t just take your property. . . . [Vehicle owners] have

to be given notice [and] a chance to redeem” their property.”).

          106.   Implying a private right of action is necessary for Plaintiff and Class members to

ensure that the City complies with the multiple notice requirement of Section 4-208.

          107.   The City violated Section 4-208 of the Illinois Vehicle Code by failing to send

Plaintiff and Class members multiple notices that their vehicles were impounded by the City and

the vehicles may be disposed of if the owner does not claim the vehicle or request an extension

within 18 days.

          108.   As a direct and proximate result of the City’s violation of Section 4-208, Plaintiff

and Class members suffered damages, including the violation of the statutory rights provided by

Section 4-208, the loss of their vehicles, and the assessment of additional fees associated with

impounding the vehicles.

                              FOURTH CAUSE OF ACTION
      Violation of the Municipal Code of Chicago—Failure to Send Additional Notices
          (On behalf of the Class and Notice Subclass against the City of Chicago)

          109.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.
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       110.    Plaintiff and Class members are entitled to enforce MCC 9-92-100. Section 9-92-

100 of the Municipal Code of Chicago was intended to protect vehicle owners, lienholders and

other legally entitled persons who had a vehicle impounded from being deprived of their vehicles

without receiving multiple notices required by MCC 9-92-100.

       111.    Plaintiff’s and Class members’ injuries are ones that MCC 9-92-100 was designed

to prevent: requiring the City to send owners of impounded vehicles multiple notices prior to the

disposal of their vehicles.

       112.    Implying a private right of action is consistent with the purpose of MCC 9-92-100

as it permits persons whose vehicles were impounded by the City to ensure that the City complies

with the requirement to send multiple notices to the registered owner of the vehicle prior to the

City disposing of the vehicle and, thereby, depriving the owner of the vehicle.

       113.    Implying a private right of action is necessary for Plaintiff and Class members to

ensure that the City complies with the multiple notice requirement of MCC 9-92-100.

       114.    The City violated Section 9-92-100 of the Municipal Code of Chicago by failing to

send Plaintiff and Class members multiple notices that their vehicles were impounded by the City

and the vehicles may be disposed of if the owner does not claim the vehicle or request an extension

within 18 days.

       115.    As a direct and proximate result of the City’s violation of MCC 9-92-100, Plaintiff

and Class members suffered damages, including the violation of the statutory rights provided by

MCC 9-92-100, the loss of their vehicles, and the assessment of additional fees associated with

impounding the vehicles.




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                              FIFTH CAUSE OF ACTION
    Violation of the Municipal Code of Chicago—Failure to Follow Mandatory 15-Day
                      Extension Requirement of MCC 9-100-120(f)
             (On behalf of the Class and Extension Subclass against the City)

          116.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          117.   Plaintiff and Class members are entitled to enforce MCC 9-100-120(f). Section 9-

100-120(f) of the Municipal Code of Chicago was intended to protect vehicle owners who had a

vehicle impounded and requested a 15-day extension of the period before the City sells or

otherwise disposes of an impounded vehicle.

          118.   Plaintiff’s and Class members’ injuries are ones that MCC 9-100-120(f) was

designed to prevent: requiring the City to honor requests for a 15-day extension of the time period

before it sells or otherwise disposes of an impounded vehicle, providing the owner of the vehicle

additional time to request a hearing or secure the release of the vehicle before the City permanently

deprives the owner of their property.

          119.   Implying a private right of action is consistent with the purpose of MCC 9-100-

120(f) as it permits persons whose vehicles were impounded by the City to ensure that the City

complies with the requirement to honor requests for a 15-day extension prior to the City disposing

of the vehicle and, thereby, depriving the owner of the vehicle.

          120.   Implying a private right of action is necessary for Plaintiff and Class members to

ensure that the City complies with the mandatory requirement of MCC 9-100-120(f) to honor

requests for a 15-day extension.

          121.   The City violated Section 9-100-120(f) of the Municipal Code of Chicago by

creating a policy and practice that the City, through the Department of Streets and Sanitation, has

discretion whether to honor a request for an extension of the time period before the City sells or

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otherwise disposes of an impounded vehicle, and discretion concerning the length of the extension

in violation of MCC 9-100-120(f), which provides that the City shall honor requests for an

extension, and shall not sell or otherwise dispose of the vehicle during the 15-day extension

period.

          122.   As a direct and proximate result of the City’s violation of MCC 9-100-120(f),

Plaintiff and Class members suffered damages, including the violation of the statutory rights

provided by MCC 9-100-120(f), and the City permanently depriving vehicle owners of their

property prior to the expiration of the time for owners to request a hearing or secure release of the

impounded vehicle.

                                  SIXTH CAUSE OF ACTION
                         Mandamus to Comply with MCC 9-100-120(f)
                 (On behalf of the Class and Extension Subclass against the City)

          123.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          124.   MCC 9-100-120(f) sets forth a clear right for owners of impounded vehicles to

receive a 15-day extension of the period before the City sells or otherwise disposes of an

impounded vehicle. The right to a 15-day extension in MCC 9-100-120(f) is public right for all

individuals whose vehicle has been impounded by the City.

          125.   MCC 9-100-120(f) sets forth a clear duty for the City to honor requests from the

registered owner of vehicles for a 15-day extension of the period before the City sells or otherwise

disposes of an impounded vehicle. See MCC 9-100-120(f) (“The department of streets and

sanitation shall honor such a request and shall not sell or otherwise dispose of a vehicle during

the 15-day extension period.”) (emphasis added).




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          126.   The City’s policy and practice that the Department of Streets and Sanitation has

discretion to honor requests for an extension, and has discretion to determine the length of the

extension fails to comply with the City’s mandatory duties in MCC 9-100-120(f).

          127.   Plaintiff and the Class lack an adequate remedy at law.

          128.   Plaintiff, on behalf of the Class, seeks a writ of mandamus that directs the City to

comply with MCC 9-100-120(f), to honor all requests for a 15-day extension of the time period

before the City sells or otherwise disposes of an impounded vehicle, and to not sell or otherwise

dispose of impounded vehicles during the 15-day extension period.

                               SEVENTH CAUSE OF ACTION
                                      Declaratory Judgment
                     (On behalf of the Class and Subclasses against the City)

          129.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          130.   Under the Declaratory Judgment Act, 28 U.S.C. §§2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and that violate the terms of the United States Constitution and state statutes

described in this complaint.

          131.   Plaintiff seeks a declaration of the rights of the parties under the Federal

Declaratory Judgement Act, 28 U.S.C. § 2201.

          132.   An actual and justiciable controversy exists between the parties in light of the City’s

failure to provide Plaintiff and Class members with the multiple notices required by the Illinois

Vehicle Code and/or the Municipal Code of Chicago prior to disposing of their vehicles, and failure

to compensate Plaintiff and Class members for the loss of their property.

          133.   Plaintiff and Class members lack an adequate remedy at law.
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          134.   Plaintiff, on behalf of the Class, seeks a declaration that the City’s policy or practice

of disposing of impounded vehicles without sending the registered owner of impounded vehicles

multiple notices that the City may dispose of the impounded vehicle if the registered owner or

legally entitled person does not claim the vehicle violates Section 4-208 of the Illinois Vehicle

Code and/or MCC 9-92-100.

                                EIGHTH CAUSE OF ACTION
                                       Unjust Enrichment
                   (On behalf of the Class and Subclasses against Defendants)

          135.   Plaintiff restates and re-alleges all preceding paragraphs as though fully set forth

herein.

          136.   Through the process of impounding and disposing of impounded vehicles,

Defendants retained benefits at Plaintiff’s and Class members’ expense.

          137.   The City received a benefit by disposing of Plaintiff’s and Class members’ property

through: 1) the proceeds from the sale of impounded vehicles to URT for scrap; 2) the proceeds

from the public auction of Plaintiff’s and Class members’ impounded vehicles and the property

therein; and 3) adding impounded vehicles to the City’s fleet of vehicles.

          138.   The City retained the benefits of disposing of Plaintiff’s and Class members’

vehicles by keeping the proceeds from the sale or adding the vehicles to the City’s fleet and failing

to provide compensation to Plaintiff and Class members, including demanding that Plaintiff and

Class members pay the entire amount of outstanding traffic tickets, and fees and costs associated

with impounding the vehicles.

          139.   URT received a benefit from purchasing Plaintiff’s and Class members’ vehicles

for the scrap value of the vehicles—far below the actual or market value—and either retaining the

property for its own use or reselling the property.



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       140.    Plaintiff and Class members were harmed by Defendants’ conduct because they

were deprived of their property without any compensation, including that the City continued to

demand that Plaintiff and Class members pay the full amount of outstanding traffic citations and

costs and fees associated with impounding their vehicles after Defendants disposed of the

impounded vehicles.

       141.    Defendants’ retention of the benefits that they obtained from the disposal of

Plaintiff’s and Class members’ property violates the fundamental principles of justice, equity, and

good conscience, and requires that Plaintiff and Class members be compensated.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually, and on behalf of all others similarly situated,

respectfully requests that this Court:

       A.      Determine that the claims alleged herein may be maintained as a class action under
               Rule 23 of the Federal Rules of Civil Procedure, and issue an order certifying one
               or more of the Classes defined above;

       B.      Appoint Plaintiff as the representative of the Class and her counsel as Class counsel;

       C.      Award all actual, general, special, incidental, statutory, punitive, and consequential
               damages and restitution to which Plaintiff and the Class members are entitled;

       D.      Award pre-judgment and post-judgment interest on such monetary relief;

       E.      Enter a writ of mandamus directing the City to honor all requests made under MCC
               9-100-120(f) for a 15-day extension of the period before the City sells or otherwise
               disposes of an impounded vehicle.

       F.      Grant appropriate injunctive and/or declaratory relief, including, without limitation,
               an order that requires the City to comply with the notice requirements of Section 4-
               208 of the Illinois Vehicle Code prior to disposing of impounded;

       G.      Award reasonable attorneys’ fees and costs; and

       H.      Grant such further relief that this Court deems appropriate.




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                                         JURY DEMAND

        Plaintiff, on behalf of herself and the putative Class, demands a trial by jury on all issues

so triable.



Dated: December 21, 2021                      Respectfully submitted,

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